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 1   [Counsel listed on signature page]

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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                        OAKLAND DIVISION

11   In re Lithium Ion Batteries Antitrust Litigation   Case No. 13-md-02420-YGR
     ______________________________________
12                                                      MDL No. 2420

13   This Document Relates To:                          JOINT STIPULATION AND
                                                        [PROPOSED] ORDER REGARDING
14   ALL ACTIONS                                        TIME TO FILE AMENDED
                                                        COMPLAINT AND RESPONSIVE
15                                                      PLEADINGS

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                            JOINT STIPULATION AND [PROPOSED] ORDER
              REGARDING TIME TO FILE AMENDED COMPLAINT AND RESPONSIVE PLEADINGS
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 1          WHEREAS, pursuant to Fed. R. Civ. P. 12(a)(4)(A), Defendants have until October 16,

 2   2014, to serve responsive pleadings to the Direct Purchaser Plaintiffs’ (“DPPs”) Second

 3   Consolidated Amended Complaint and the Indirect Purchaser Plaintiffs’ (“IPPs”) Corrected

 4   Consolidated Second Amended Class Action Complaint;

 5          WHEREAS, Defendants have conferred with the DPPs and IPPs to request an extension of

 6   time to serve responsive pleadings due to the complexity and length of the complaints; and

 7          WHEREAS, IPPs have conferred with Defendants to request Defendants’ consent to file a

 8   further amended complaint;

 9          IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the

10   undersigned DPPs, IPPs, and Defendants (the “Parties”), as follows:

11          1.       Defendants consent, pursuant to Fed. R. Civ. P. 15(a)(2), to IPPs filing an amended

12   complaint limited to (i) the addition of the Hawaii claim and plaintiff described in IPPs’ Statement

13   of Compliance Re Administrative Termination (ECF No. 505); (ii) the removal of named

14   plaintiffs; and (iii) the amendments permitted by the Court’s Omnibus Order re: Motions to

15   Dismiss the Second Consolidated Amended Complaints of Direct and Indirect Purchaser Plaintiffs

16   (ECF No. 512) at 78. Defendants’ consent shall not be construed as a waiver of Defendants’ right

17   to move to dismiss the amended claim(s), if appropriate, or otherwise present defenses pursuant to

18   Fed. R. Civ. P. 12. However, Defendants shall not be permitted to re-file motions to dismiss that

19   raise the same arguments previously raised and rejected in earlier-filed motions.

20          2.       IPPs shall file their amended complaint no later than October 22, 2014.

21          3.       Defendants’ time to serve responsive pleadings to the DPPs’ Second Consolidated

22   Amended Complaint and the IPPs’ operative complaint shall be extended to November 21, 2014.

23          4.       Except for the provisions set forth above, nothing in this stipulation shall affect the

24   Parties’ rights to seek leave to amend their pleadings, or to oppose leave, as appropriate in

25   accordance with Fed. R. Civ. P. 15.

26          5.       This stipulation does not affect any other pending deadlines, including any

27   forthcoming case management or discovery schedule.

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 3                                  [PROPOSED] ORDER

 4   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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 6   Dated: October 17, 2014
                                          HON. YVONNE GONZALEZ ROGERS
 7                                        UNITED STATES DISTRICT JUDGE
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 1   DATED: October 16, 2014

 2   By:     /s/ Steven N. Williams            By: /s/ Jeffrey L. Kessler
             Steven N. Williams
 3                                             Jeffrey L. Kessler (pro hac vice)
     Joseph W. Cotchett (36324)                jkessler@winston.com
 4   Steven N. Williams (175489)               A. Paul Victor (pro hac vice)
     Nancy L. Fineman (124870)                 pvictor@winston.com
 5   Frank C. Damrell, Jr. (37126)             Eva W. Cole (pro hac vice)
     Joana W. LiCalsi (288771)                 ewcole@winston.com
 6   COTCHETT, PITRE & McCARTHY, LLP           Jeffrey J. Amato (pro hac vice)
     840 Malcolm Road                          jamato@winston.com
 7   Burlingame, CA 94010                      WINSTON & STRAWN LLP
     Tel: (650) 697-6000                       200 Park Avenue
 8   Fax: (650) 697-0577                       New York, NY 10166-4193
     jcotchett@cpmlegal.com                    Telephone: (212) 294-4601
 9                                             Facsimile: (212) 294-4700
     By:     /s/ Steve W. Berman
10           Steve W. Berman                   Ian L. Papendick (SBN 275648)
                                               ipapendick@winston.com
11   Steve W. Berman (pro hac vice)            Diana L. Hughes (SBN267606)
     HAGENS BERMAN SOBOL SHAPIRO LLP           dhughes@winston.com
12   1918 Eighth Avenue, Suite 3300            WINSTON & STRAWN LLP
     Seattle, WA 98101                         101 California Street
13   Telephone: (206) 623-7292                 San Francisco, CA 94111
     Facsimile: (206) 623-0594                 Telephone: (415) 591-6904
14   steve@hbsslaw.com                         Facsimile: (415) 591-1400

15   Jeff D. Friedman (173886)                 Roxann E. Henry (pro hac vice)
     Shana Scarlett (217895)                   MORRISON & FOERSTER LLP
16   Jon T. King (205073)                      2000 Pennsylvania Avenue, NW
     HAGENS BERMAN SOBOL SHAPIRO LLP           Suite 6000
17   715 Hearst Avenue, Suite 202              Washington, DC 20006
     Berkeley, CA 94710                        rhenry@mofo.com
18   Tel: (510) 725-3000                       Telephone: (202) 887-1500
     Fax: (510) 725-3001                       Facsimile: (202) 887-0763
19   jefff@hbsslaw.com
                                               Counsel for Panasonic Corporation,
20   By:     /s/ Lin Y. Chan                   Panasonic Corporation of North America,
             Lin Y. Chan                       SANYO Electric Co., Ltd., and
21                                             SANYO North America Corporation
     Elizabeth J. Cabraser (083151)
22   Richard M. Heimann (63607)
     Eric B. Fastiff (182260)                  By: /s/ Michael W. Scarborough
23   Joy A. Kruse (142799)
     Brendan P. Glackin (199643)               Gary L. Halling
24   Marc A. Pilotin (266369)                  James L. McGinnis
     Lin Y. Chan (255027)                      Michael W. Scarborough
25   LIEFF CABRASER HEIMANN &                  SHEPPARD MULLIN RICHTER &
     BERNSTEIN, LLP                            HAMPTON
26   275 Battery Street, 29th Floor            4 Embarcadero Center, 17th Floor
     San Francisco, CA 94111-3339              San Francisco, CA 94111
27   Tel: (415) 956-1000                       ghalling@sheppardmullin.com
     Fax: (415) 956-1008                       jmcginnis@sheppardmullin.com
28
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 1   ecabraser@lchb.com                       mscarborough@sheppardmullin.com
                                              Telephone: (415) 434-9100
 2   Indirect Purchaser Plaintiffs            Facsimile: (415) 434-3947
     Interim Co-Lead Class Counsel
 3                                            Counsel for Samsung SDI Co., Ltd. and
                                              Samsung SDI America, Inc.
 4
     By: /s/ Todd A. Seaver
 5                                            By: /s/ Robert B. Pringle
     Joseph J. Tabacco, Jr. (Bar No. 75484)
 6   Todd A. Seaver (Bar No. 271067)          Robert B. Pringle (SBN: 051365)
     Jessica Moy (Bar No. 272941)             rpringle@winston.com
 7   BERMAN DeVALERIO                         Paul R. Griffin (SBN: 083541)
     One California Street, Suite 900         pgriffin@winston.com
 8   San Francisco, CA 94111                  Sean D. Meenan (SBN: 260466)
     Tel: (415) 433-3200                      smeenan@winston.com
 9   Fax: (415) 433-6382                      WINSTON & STRAWN LLP
     tseaver@bermandevalerio.com              101 California Street, Suite 3900
10                                            San Francisco, CA 94111-5802
     By: /s/ Aaron M. Sheanin                 Telephone: (415) 591-1000
11                                            Facsimile: (415) 591-1400
     Bruce L. Simon (Bar No. 96241)
12   Robert G. Retana (Bar No. 148677)        Counsel for NEC Corporation and
     Aaron M. Sheanin (Bar No. 214472)        NEC Tokin Corporation
13   William J. Newsom (Bar No. 267643)
     PEARSON SIMON & WARSHAW LLP
14   44 Montgomery Street, Suite 2450         By: /s/ John C. Dwyer
     San Francisco, CA 94104
15   Tel: (415) 433-9000                      Stephen C. Neal (SBN 170085)
     Fax: (415) 433-9008                      Bennett S. Miller (SBN 254368)
16   asheanin@pswplaw.com                     5 Palo Alto Square
                                              3000 El Camino Real
17   By: /s/ R. Alexander Saveri              Palo Alto, CA 94306-2155
                                              Telephone: (650) 843-5228
18   R. Alexander Saveri (Bar No. 173102)     Facsimile: (650) 849-7400
     Geoffrey C. Rushing (Bar No. 126910)     dwyerjc@cooley.com
19   Cadio Zirpoli (Bar No. 126910)           nealsc@cooley.com
     Carl N. Hammarskjold (Bar No. 280961)    bennett.miller@cooley.com
20   SAVERI & SAVERI, INC.
     706 Sansome Street                       Beatriz Mejia (SBN 190948)
21   San Francisco, CA 94111                  Matthew M. Brown (SBN 264817)
     Telephone: (415) 217-6810                COOLEY LLP
22   Fax: (415) 217-6813                      101 California Street, 5th Floor
     rick@saveri.com                          San Francisco, CA 94111-5800
23                                            Telephone: (415) 693-2000
     Direct Purchaser Plaintiffs              Facsimile: (415) 693-2222
24   Interim Co-Lead Class Counsel            mejiab@cooley.com
                                              mmbrown@cooley.com
25
                                              Counsel for Sony Corporation, Sony Energy
26                                            Devices Corporation, and Sony Electronics,
                                              Inc.
27

28
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 1   By: /s/ Craig P. Seebald                    By: /s/ Christopher M. Curran

 2   Craig P. Seebald (pro hac vice)             Christopher M. Curran (pro hac vice)
     Lindsey R. Vaala (pro hac vice)             J. Frank Hogue (pro hac vice)
 3   VINSON & ELKINS LLP                         WHITE & CASE LLP
     2200 Pennsylvania Avenue NW                 701 Thirteenth Street, NW
 4   Suite 500 West                              Washington, DC 20005
     Washington, D.C. 20037                      ccurran@whitecase.com
 5   cseebald@velaw.com                          Telephone: (202) 626-3600
     lvaala@velaw.com                            Facsimile: (202) 639-9355
 6   Telephone: (202) 639-6585
     Facsimile: (202) 879-8995                   Counsel for Toshiba Corporation
 7
     Matthew J. Jacobs (SBN 171149)
 8   Jessica Spradling Russell (pro hac vice)    By: /s/ Kenneth P. Ewing
     VINSON & ELKINS LLP
 9   525 Market Street, Suite 2750               Kenneth P. Ewing (pro hac vice)
     San Francisco, California 94105             Robert W. Fleishman (pro hac vice)
10   mjacobs@velaw.com                           Andrew J. Lee (pro hac vice)
     jrussell@velaw.com                          Andrew J. Sloniewsky (pro hac vice)
11   Telephone: (415) 979-6990                   STEPTOE & JOHNSON LLP
     Facsimile: (415) 651-8786                   1330 Connecticut Ave., NW
12                                               Washington, D.C. 20036
     Counsel for Maxell Corporation of America   kewing@steptoe.com
13   and Hitachi Maxell, Ltd.                    Telephone: (202) 429-6264
                                                 Facsimile: (202) 429-3902
14
                                                 Counsel for LG Chem, Ltd. and LG Chem
15                                               America, Inc.

16
                                                 By: /s/ Djordje Petkoski___
17
                                                 Douglas M. Garrou (pro hac vice)
18                                               Djordje Petkoski (pro hac vice)
                                                 Robert A. Caplen (pro hac vice)
19                                               HUNTON & WILLIAMS LLP
                                                 2200 Pennsylvania Avenue, N.W.
20                                               Washington, DC 20037
                                                 dgarrou@hunton.com
21                                               dpetkoski@hunton.com
                                                 rcaplen@hunton.com
22                                               Telephone: (202) 955-1500
                                                 Facsimile: (202) 778-2201
23
                                                 Counsel for GS Yuasa Corporation
24

25

26

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28
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